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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ROVIER CARRINGTON,

              Plaintiff,
                                     Case No. 18-cv-04609 (KPF)
         v.
                                     The Honorable Katherine Polk Failla
 BRIAN GRADEN, BRIAN GRADEN
 MEDIA, LLC, VIACOMCBS INC.,
 VIACOM INTERNATIONAL, INC.,
 PARAMOUNT PICTURES
 CORPORATION, BRAD GREY, BRAD
 GREY ESTATE, BRAD ALAN GREY
 TRUST,

              Defendants.




 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ APPLICATION FOR AN
    ORDER TO SHOW CAUSE WHY PLAINTIFF ROVIER CARRINGTON AND
     G. SCOTT SOBEL, ESQ. SHOULD NOT BE HELD IN CIVIL CONTEMPT




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         Defendants respectfully submit this memorandum of law in support of their application

 for an order to show cause why Plaintiff Rovier Carrington and his counsel, G. Scott Sobel, Esq.,

 should not be held in civil contempt for violating the Court’s September 11, 2020 Order and

 permanent injunction (the “Permanent Injunction”). Dkt. No. 180.

                                  PRELIMINARY STATEMENT

         Plaintiff Rovier Carrington’s litigation misconduct continues. It is now established fact

 that Mr. Carrington falsified and fabricated critical email communications that he appended to

 the Amended Complaint in this case (the “SDNY Action”) and lied about their provenance in

 various representations to the Court. This caused the Court to dismiss the SDNY Action with

 prejudice and to impose sanctions in the form of hundreds of thousands of dollars in attorneys’

 fees in a September 28, 2020 Opinion and Order. Dkt. No. 184.

         Just last week, Mr. Carrington and his new counsel, G. Scott Sobel, carried through on a

 threat to file a complaint in the Central District of California (the “CDCA Complaint”) against

 Defendants and third parties, which raises the same basic claims as the SDNY Action. Filing the

 CDCA Complaint was a direct violation of the Permanent Injunction, which expressly prohibited

 Messrs. Carrington and Sobel from commencing any such action “without the prior authorization

 of this Court.” Dkt. 180 at 14. Messrs. Carrington and Sobel were served a copy of the

 Permanent Injunction, reviewed and understood it, and nonetheless filed the CDCA Complaint in

 willful disregard of its express terms. This is outrageous conduct that once again threatens the

 integrity of the judicial process.

         We request that this Court hold both Messrs. Carrington and Sobel in civil contempt of

 Court; order them to withdraw the CDCA Complaint with prejudice; order Mr. Sobel to

 withdraw as counsel of record in the CDCA case and related cases; impose fines and/or

 incarceration if Messrs. Carrington and Sobel refuse to purge the contempt or comply with the


                                                  1
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 Court’s Order of contempt; and award attorneys’ fees. Attached to this application is a Proposed

 Order to Show Cause, directing Messrs. Carrington and Sobel to appear before this Court and

 show cause as to why an Order of contempt and the above sanctions should not be imposed.

                                    STATEMENT OF FACTS

        In the SDNY Action, Plaintiff Rovier Carrington asserted claims of sexual assault, unfair

 competition, fraud and misappropriation of his alleged work, and federal antitrust violations.

 Within days of filing the SDNY Action, Defendants raised concerns to Mr. Carrington’s then

 counsel (the Landau Group) about the authenticity of certain evidence cited in the Complaint.

 See Dkt. No. 180 at 2-3. Rather than engage on these issues, Mr. Carrington and the Landau

 Group doubled down, filed an Amended Complaint, and attached 40 separate email

 communications that purported to confirm Carrington’s salacious allegations of sexual abuse,

 attempted cover-ups, and blacklisting. Dkt. No. 35.

        Consistent with discovery practice regarding potential fraud on the Court, the Court

 ordered expedited discovery into the authenticity of these email communications in August 2018.

 See Dkt. No. 180 at 3. What ensued was a “15-month saga investigating the provenance of the

 challenged emails.” Id. The delay in this investigation was due to Mr. Carrington’s obstructive

 conduct, including his spoliation of evidence, failure to appear at proceedings, and flouting of the

 Court’s and counsel’s preservation orders. By mere way of example, Carrington deactivated the

 entire content of the key email account from which many of the allegedly incriminating emails

 were purportedly sent, just one day after filing the Amended Complaint (Dkt. No. 124-17);

 discarded the lone device he (falsely) claimed was used to send and receive these email

 communications (Feb. 7, 2019 Tr. at 11:5-12:21); and refused to appear at the October 11, 2019

 sanctions hearing despite being ordered to do so (Dkt. No. 180 at 3-4).




                                                  2
                                                                                         Exhibit F-6
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          After extensive briefing and argument, the Court found that Mr. Carrington fabricated

 and destroyed critical evidence in the case and lied to the Court. The Court determined: “under a

 clear and convincing evidence standard, that Mr. Carrington ha[d] sentiently set in motion some

 unconscionable scheme, calculated to interfere with the judicial system’s ability impartially to

 adjudicate the action.” Oct. 11, 2019 Hearing Tr. at 48:25-49:4. The Court further concluded:

 “whether I had this as a preponderance or a clear and convincing [standard], I have to find, I do

 find, that these emails were fabricated, and that was bad enough, but the deactivation of the

 accounts, the efforts undertaken to really foreclose what is necessary discovery in this case, and

 the stream of lies to me, necessitate the sanctions that I am imposing.” Id. at 46:6-12; see also

 id. at 49:21-23 (noting that Carrington “engaged in a course of conduct that is itself egregious,

 and that goes against everything that I have [] to preserve as a judge.”). Accordingly, the Court

 dismissed the action with prejudice and permitted Defendants to submit applications for

 attorneys’ fees and costs. Dkt. No. 147. 1 Defendants submitted their respective fee applications

 on December 2, 2019. See Dkt. Nos. 151-58.

          On August 28, 2020, nearly ten months after the Court issued the above terminating

 sanctions, Mr. Carrington (through his now third counsel, G. Scott Sobel), sent a “settlement

 demand” letter to counsel for Defendants and to third parties, threatening prospective legal action

 should the recipients not pay $350,000,000, which Carrington “would consider.” Dkt. No. 174-3

 at 20. The letter regurgitated the same core allegations and claims that had previously been


 1
   The very same day of the sanctions hearing, Mr. Carrington filed a temporary restraining order (“TRO”) petition in
 the Superior Court of California, County of Los Angeles, against Defendant Brian Graden. The TRO alleged that
 between October 3, 2019 and October 9, 2019, Graden made telephonic threats to Carrington that prevented
 Carrington from attending the sanctions hearing. In making his TRO petition, Carrington once again fabricated
 evidence in the form of spoofed telephone records. See Dkt. No. 174-1. On February 10, 2020, the Superior Court
 held a hearing regarding Carrington’s request for a restraining order. As in this action, Carrington failed to appear
 and the Superior Court dismissed the case with prejudice and permitted filings for potential sanctions against
 Carrington and his attorney at the time. See Dkt. No. 174-2.



                                                          3
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 raised against Defendants and dismissed. See Dkt. No. 180 at 9-10 (explaining that the

 allegations in Mr. Sobel’s demand letters “in large measure” “replicate those in the Amended

 Complaint”). The settlement demand had a “deadline” of September 4, 2020.

        Defendants promptly submitted a letter to the Court requesting an expedited pre-motion

 conference to seek an injunction against Mr. Carrington that would prevent him from carrying

 through on this threat. Dkt. No. 174. The Court scheduled a telephonic conference for

 September 10, 2020 “to discuss Plaintiff’s recent conduct and Defendants’ request for an

 injunction.” Dkt. No. 176. Defendants’ counsel sent to Messrs. Carrington and Sobel copies of

 all papers that counsel filed regarding this application and of the September 8, 2020 Order that

 set a telephonic conference. Declaration of Christopher LaVigne (“LaVigne Decl.”) at ¶¶ 5-11.

 In response, Mr. Sobel wrote that he would not participate in the conference. Id. at ¶ 8, Ex. C.

 Defendants’ counsel advised Mr. Sobel via email that the relief sought at the conference “would

 preclude you from filing the action you threatened in your August 27, 2020 letter.” Id. at ¶ 9, Ex.

 D. Mr. Sobel responded with another letter, in which he again threatened to commence an

 imminent action on behalf of Mr. Carrington and claimed that “[t]here is nothing a District Court

 judge in SDNY can do to prevent new charges filed against” certain defendants. Id. at ¶ 10; Dkt.

 No. 178-2 at 3.

        On September 10, 2020, Defendants attended the Court-Ordered telephonic conference

 and requested an injunction. Neither Mr. Carrington nor Mr. Sobel appeared. On September 11,

 2020, the Court issued the Permanent Injunction, “enjoining [Carrington] from commencing,

 without express prior leave of this Court, any new action in federal or state court arising from or




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 relating to the same subject matter that was addressed in the instant action.” Dkt. No. 180 at 2.

 The Permanent Injunction was promptly served on both Mr. Carrington and Mr. Sobel.2

         On October 26, 2020, Mr. Carrington, through Mr. Sobel, filed the CDCA Complaint in

 the Central District of California, Western Division. See LaVigne Decl., Ex. H. As detailed

 below, the CDCA Complaint regurgitates and rehashes allegations that Carrington raised

 throughout the course of this action and that Mr. Sobel threatened in his recent settlement

 demand letters. The allegations in the CDCA Complaint are “arising from or relating to the

 same subject matter that was addressed in the instant action.” Dkt. No. 180 at 2. Messrs.

 Carrington and Sobel expressly acknowledge as much by alleging that “Judge Failla and

 Defendants placed an injunction against Carrington filing the present action.” LaVigne Decl.,

 Ex. H at ¶ 221. At no point before filing the CDCA Complaint did Mr. Carrington or Mr. Sobel

 seek authorization from this Court to do so, which the Permanent Injunction requires. Dkt. No.

 180 at 14; LaVigne Decl. at ¶ 18.

                                                ARGUMENT

 I.      Messrs. Carrington and Sobel Should Be Found in Civil Contempt

         A.       Legal Standard

         “A court may hold a party in civil contempt for failure to comply with a court order if

 ‘(1) the order the party failed to comply with is clear and unambiguous, (2) the proof of

 noncompliance is clear and convincing, and (3) the party has not diligently attempted to comply




 2
  The Court mailed a copy of the Permanent Injunction to Mr. Carrington on September 11, 2020. Pursuant to the
 Court’s request that Defendants “serve [the Permanent Injunction] on Carrington and his current counsel by
 whatever means they have used to communicate with each of them in the past” (Dkt. 180 at 14), counsel emailed a
 copy of the Permanent Injunction to both Carrington and Mr. Sobel on the same day. See LaVigne Decl. at ¶ 14, Ex.
 F. In addition, the Permanent Injunction was personally served on an associate of Mr. Carrington on or about
 September 22, 2020 at the address that appears on the docket for Mr. Carrington, and it was separately mailed to
 Carrington at that same address. See LaVigne Decl. at ¶ 15, Ex. G.



                                                        5
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in a reasonable manner.’” Al Hirschfeld Found. v. Margo Feiden Galleries Ltd., 438 F. Supp. 3d

203, 207 (S.D.N.Y. 2020) (quoting CBS Broadcasting Inc. v. FilmOn.com, Inc., 814 F.3d 91, 98

(2d Cir. 2016)). “Civil contempt sanctions may serve either or both of two purposes: They may

be coercive, to secure compliance with court orders, or they may be compensatory, to make

whole the party who has been wronged.” Al Hirschfeld Found., 438 F. Supp. 3d at 207. A

district court has “broad discretion to fashion an appropriate coercive remedy . . . based on the

nature of the harm and the probable effect of alternative sanctions.” EEOC v. Local 28, Sheet

Metal Workers Int’l Ass’n, 247 F.3d 333, 336 (2d Cir. 2001) (internal quotation marks and

citation omitted).

        B.      The Elements of Civil Contempt are Satisfied

        It is beyond dispute that Messrs. Carrington and Sobel violated the Permanent Injunction

and that all elements of civil contempt are satisfied.

                1. The Permanent Injunction is “Clear and Unambiguous”

        The Permanent Injunction is “clear and unambiguous.” Al Hirschfeld Found., 438 F.

Supp. 3d at 207 (internal quotation marks and citation omitted). It “forbid[s]” Carrington from

“filing any future suits in federal or state court arising from or relating to the subject matter in the

instant action without the prior authorization of this Court.” Dkt. No. 180 at 13-14. The terms

are straightforward and consistent with similar orders that courts in this District have issued

regarding vexatious litigants, including ones that have been upheld by the United States Court of

Appeals for the Second Circuit. See, e.g., Eliahu v. Jewish Agency for Israel, 919 F.3d 709, 715

(2d Cir. 2019) (affirming injunction that enjoined appellants from filing further claims without

court approval), cert. denied sub nom. Weisskopf v. Jewish Agency for Israel, 140 S. Ct. 380

(2019); Safir v. United States Lines Inc., 792 F.2d 19, 23 (2d Cir. 1986) (same); In re Martin-

Trigona, 9 F.3d 226, 228 (2d Cir. 1993) (same).


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               2. Messrs. Carrington and Sobel’s Non-Compliance with the Permanent
                  Injunction is “Clear and Convincing”

        The “proof of noncompliance [with the Permanent Injunction] is clear and convincing.”

 Al Hirschfeld Found., 438 F. Supp. 3d at 207 (internal quotation marks and citation omitted).

 The CDCA Complaint arises from and relates to the SDNY Action. Dkt. No. 180 at 13. Both

 are predicated on broad allegations of sexual abuse that Mr. Carrington purportedly suffered due

 to the actions, or inactions, of Defendants and their purported agents. Compare, e.g., CDCA

 Complaint at ¶¶ 16-18, 86-97, 113, 115, 116, 132-143, 253-73 with Dkt. No. 35 (the “SDNY

 Complaint”) at ¶¶ 32-53, 77-129, 152-67. Both allege that Defendants took actions to cover up

 this abuse through various means and methods, including the signing of non-disclosure

 agreements. Compare, e.g., CDCA Complaint at ¶¶ 129, 130, 137 with SDNY Complaint at ¶¶

 54-59, 63-69, 98-99. And both include allegations of purported blacklisting and quid pro quos

 associated with Defendants’ alleged conduct (compare, e.g., CDCA Complaint at ¶¶ 117, 122,

 130, 132, 273-86 with SDNY Complaint at ¶¶ 55, 59, 68, 100, 148-52, 224-237), and claims of

 misappropriation (compare, e.g., CDCA Complaint at ¶¶ 146-48 with SDNY Complaint at ¶¶

 130-51).

        Many of the allegations in the CDCA Complaint are cut and pasted from Mr. Sobel’s

 extortionate settlement demand letter, which is what led to the issuance of the Permanent

 Injunction in the first place. Compare, e.g., CDCA Complaint at ¶¶ 132-45 with Dkt. No. 174-3

 at 9-12. The CDCA Complaint also includes allegations of litigation misconduct by counsel in

 connection with the SDNY Action, which previously were addressed and rejected by the Court.

 Compare, e.g., CDCA Complaint at ¶¶ 186-200 with Dkt. No. 126 at 2 (finding no misconduct

 by counsel) and Oct. 11, 2019 Hearing Tr. at 40:3-5 (same).




                                                 7
                                                                                    Exhibit F-11
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       Messrs. Carrington and Sobel concede these points by acknowledging in the CDCA

Complaint that “Judge Failla and Defendants placed an injunction against Carrington filing the

present action.” LaVigne Decl., Ex. H at ¶ 221 (emphasis added); see also id. at ¶ 69 (stating

that “[i]t is true that Carrington is also again attempting to litigate his sex abuse claims, which

claims have never been litigated”) (emphasis added). Despite receiving the Permanent

Injunction and knowing all of its terms, neither Mr. Carrington nor Mr. Sobel ever sought prior

authorization of this Court before filing the CDCA Complaint. LaVigne Decl. at ¶ 18.

Accordingly, this noncompliance certainly meets the “clear and convincing” standard.

               3. Messrs. Carrington and Sobel Have Not Attempted to Comply with the
                  Order

       The intent standard for civil contempt is whether a party has “diligently attempted to

comply in a reasonable manner.” Al Hirschfeld Found, 438 F. Supp. 3d at 207 (internal

quotation marks and citation omitted). Here, there has been a conscious, calculated effort not to

comply with the Permanent Injunction. Messrs. Carrington’s and Sobel’s disregard for the

Court’s orders was evident even before the Permanent Injunction was issued. Both refused to

participate or engage in the proceedings relating to the Permanent Injunction—they had had the

opportunity to respond to counsel’s papers and attend the September 10, 2020 conference.

Instead, they refused to appear and taunted the Court by proclaiming (baselessly) that there was

“nothing a District Court judge in SDNY can do to prevent new charges” being filed against

certain parties. Dkt. No. 178-2 at 3.

       Under the terms of the Permanent Injunction, Messrs. Carrington and Sobel simply had to

request this Court’s permission before filing the CDCA Complaint. Their refusal to follow this

basic directive necessitates the Court’s exercise of its “most prominent” power to issue contempt

sanctions to “‘protect[] the due and orderly administration of justice and . . . maintain[] the



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                                                                                        Exhibit F-12
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authority and dignity of the court.’” Roadway Express, Inc. v. Piper, 447 U.S. 752, 764 (1980)

(quoting Cooke v. United States, 267 U.S. 517, 539 (1925)).

       And finally, while Mr. Sobel was not a plaintiff or counsel in the SDNY Action, he is still

bound by the Permanent Injunction’s terms. Pursuant to Fed. R. Civ. P. 65(d)(2)(B), the

Permanent Injunction bound Carrington’s “attorneys” who “receive actual notice of [the

Permanent Injunction] by personal service or otherwise.” Mr. Sobel had actual knowledge of the

Permanent Injunction (LaVigne Decl. at ¶14), violated it by filing the CDCA Complaint, and

must be held in contempt. See, e.g., SEC v. Bilzerian, 613 F. Supp. 2d 66, 73 (D. D.C. 2009)

(noting that attorney “was in civil contempt from the moment he served as Bilzerian’s agent in

his lawsuits despite his actual knowledge of the order” forbidding plaintiff from filing future

lawsuits), aff’d, 410 F. App’x 346 (D.C. Cir. 2010); In re Rosebar, 505 B.R. 82, 87 (Bankr.

D.D.C. 2014) (“When an attorney advises a client not to comply with a court order, she may,

with exceptions of no relevance here, be held in civil contempt.”).

II.    The Proper Remedy is Dismissal of the CDCA Complaint With Prejudice, Mr.
       Sobel’s Withdrawal as Counsel, Incarceration or Fines for Non-Compliance, and
       Attorneys’ Fees

       Contempt sanctions may both be “coercive, to secure compliance with court orders, or

they may be compensatory, to make whole the party who has been wronged.” Al Hirschfeld

Found., 438 F. Supp. 3d at 207. A district court has “broad discretion to fashion an appropriate

coercive remedy.” EEOC v. Local 28, 247 F.3d at 336 (internal quotation marks and citation

omitted).

       Multiple sanctions are appropriate for Messrs. Carrington’s and Sobel’s contempt.

       Dismissal with Prejudice. Messrs. Carrington and Sobel must be ordered to dismiss the

CDCA Complaint with prejudice forthwith, and no later than two business days from the Court’s




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finding of civil contempt. This is a proper remedy that is designed to “secure compliance with

court orders.” Al Hirschfeld Found., 438 F. Supp. 3d at 207.

        District courts have the power to enforce their own injunctions, which includes ordering

parties to dismiss lawsuits that were brought in violation of a court’s injunction. For example, in

In re Tronox Inc., 549 B.R. 21 (S.D.N.Y. 2016), Judge Forrest ordered the Plaintiffs to do

exactly that, stating:

                It is within this Court’s discretion and power to enforce the
                Injunction and, if to do that it is required to order parties to take
                appropriate actions in that regard, so be it. This Court also has
                tremendous interest in preventing litigation the pursuit of which is
                violative of an injunction previously issued by this Court.

Id. at 55. The interests cited by Judge Forrest are the same here—Messrs. Carrington and Sobel

are actively pursuing litigation that is in direct violation of the Permanent Injunction, that is

duplicative of the SDNY Action, and that is seeking to relitigate or overturn the decisions in the

SDNY Action.

        Similarly, in SEC v. Bilzerian, the court found the defendant and his counsel in contempt

of court for filing various lawsuits in violation of the court’s prior injunction. 613 F. Supp. 2d at

77. As a remedy, it directed them to “dismiss all lawsuits that were filed in contempt of the 2001

order.” Id.; see also Friedman v. Wallach, No. 03 Civ. 7118 GEL AJP, 2004 WL 1834274, at *1

(S.D.N.Y. Aug. 17, 2004) (Report & Recommendation) (recommending dismissal because

plaintiff violated an order “permanently enjoin[ing] plaintiff from litigating further any claims

relating to the [underlying allegations]”) (internal quotation marks and citation omitted), adopted

Oct. 27, 2004, No. 03 Civ. 7118, Dkt. No. 37; Klapper v. Verizon Commc’ns, Inc., No. 02 CIV.

3262 (WK), 2002 WL 1580019, at *1 (S.D.N.Y. July 16, 2002) (finding plaintiff in contempt of

court and dismissing complaint for violating court order that “enjoin[ed] plaintiff from instituting




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any further actions arising from the facts at issue” in a previous litigation), aff’d in part, appeal

dismissed in part, 70 F. App’x 44 (2d Cir. 2003); Buhannic v. TradingScreen Inc., No. 19 Civ.

10650 (ER), 2020 WL 4058949, at * 8 (S.D.N.Y. July 20, 2020) (imposing anti-filing injunction

and stating subsequent actions “will be dismissed for failure to comply with this Opinion and

Order.”) (internal quotation marks and citation omitted).

        Dismissal of the CDCA Complaint with prejudice is especially warranted for the

Defendants, since the relevant CDCA claims are based on causes of action and issues that were

decided and dismissed in the SDNY Action, or that certainly could have been raised by

Carrington. See, e.g., Nemaizer v. Baker, 793 F.2d 58, 60–61 (2d Cir. 1986) (“[A] dismissal

[with prejudice] constitutes a final judgment with the preclusive effect of res judicata not only as

to all matters litigated and decided by it, but as to all relevant issues which could have been but

were not raised and litigated in the suit.”) (internal quotation marks and citation omitted); Lipin

v. Hunt, No. 14-CV-1081 RJS, 2015 WL 1344406, at *5 (S.D.N.Y. Mar. 20, 2015) (“With

respect to collateral estoppel, that doctrine normally will bar the relitigation of an issue of law or

fact that was raised, litigated, and actually decided by a judgment in a prior proceeding between

the parties . . . .”) (internal quotation marks and citation omitted).

        Messrs. Carrington and Sobel not only ignored the terms of the Permanent Injunction,

they filed the CDCA Complaint in an attempt to reopen and challenge the entire dismissal of the

SDNY Action. See, e.g., LaVigne Decl. Ex. H at ¶¶ 222-246 (First Cause of Action seeking

declaratory judgment that Judge Failla’s individual rules and prior orders are unconstitutional

and void for lack of due process), ¶¶ 287-299 (Sixth Cause of Action seeking damages for

deprivation of civil rights based on substantive due process violations associated with Judge




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Failla’s individual rules and prior orders), ¶ 319 (seeking to void all of Judge Failla’s prior

Orders, including dismissal with prejudice and the Permanent Injunction).

       These claims are frivolous. This Court’s dismissal with prejudice is in line with cases

that empower courts to dismiss complaints for fabrication and spoliation. See, e.g., ComLab,

Corp. v. Kal Tire, No. 17-CV-1907 (KBF), 2018 WL 4333987 (S.D.N.Y. Sept. 11, 2018), aff’d,

815 F. App’x 597 (2d Cir. 2020). Further, challenging one district’s decision by commencing a

separate action in another district is improper and prohibited. See, e.g., Klayman v. Kollar-

Kotelly, No. 12-5340, 2013 WL 2395909, at *1 (D.C. Cir. May 20, 2013) (“[O]ne district court

does not have jurisdiction to review the decisions of another district court or federal appellate

court . . . .”); Manwani v. Brunelle, 99 F.3d 400, *2 (2d Cir. 1995) (affirming dismissal with

prejudice and imposition of sanctions; “The instant action simply seeks to avoid the district

court’s previous orders by filing a fresh complaint”); Friedman, 2004 WL 1834274, at *1 (“It is

not, of course, this Court’s function to sit in review of Judge Swain’s anti-filing injunction.”).

That is what the appellate or reconsideration process is for, which Mr. Carrington never pursued.

       More importantly for purposes of this application, Carrington’s meritless challenge to the

Permanent Injunction via the CDCA Complaint is irrelevant to resolving whether his failure to

comply with its terms constitutes contempt. It does. See, e.g., Sepehry-Fard v. Select Portfolio

Servicing, Inc., No. 14-CV-05142-LHK, 2016 WL 4436312, at *9 (N.D. Cal. Aug. 23, 2016)

(holding plaintiff in contempt for violating pre-filing review requirement, because “Plaintiff

never appealed the Vexatious Litigant Order, and Plaintiff's current, untimely challenge to the

validity of the Vexatious Litigant Order does not excuse Plaintiff's failure to comply with the

order”). Messrs. Carrington and Sobel could have sought authorization from the Court before

bringing the CDCA Complaint and litigated whether the CDCA Complaint was appropriate




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(which it is not). Both have now forfeited any rights they had to seek leave for permission to file

and both must be ordered to withdraw the CDCA Complaint with prejudice forthwith, and no

later than two business days from the Court’s finding of contempt.

       Incarceration, Fines, and Withdrawal to Ensure Compliance. Messrs. Carrington and

Sobel have shown a pattern and practice of violating Court orders, refusing to participate in

Court-ordered appearances, and taking matters into their own hands. Additional relief is needed

to ensure compliance with any Order of contempt and to purge it.

       Mr. Carrington: “The coercive sanction of incarceration is especially appropriate where

(i) it is unlikely that increased monetary sanctions would improve the likelihood of compliance

and (ii) there has been a pattern of noncompliance.” In re 1990’s Caterers Ltd., 531 B.R. 309,

320 (Bankr. E.D.N.Y. 2015). Such is the case here.

       The SDNY Action was marred by Mr. Carrington’s fabrication of evidence, spoliation of

evidence, and refusal to comply with counsel’s and various Court Orders on discovery. See Dkt.

No. 124 at 5-7; Dkt. No. 184 at 15-16, 24-25 (explaining that Carrington’s conduct included

“willfully foreclosing opportunities to obtain evidence — not merely evidence that might put the

lie to Plaintiff’s indelicate allegations, but more basic evidence Defendants needed to meet

Plaintiff’s claims.”). Mr. Carrington’s misconduct continues and has not been deterred by the

Court’s previous sanctions, including dismissing the SDNY Action with prejudice (Dkt. No.

147), awarding $607,994.09 in attorneys’ fees and costs to Defendants (Dkt. No. 184), and

enjoining him from filing additional actions (Dkt. No. 180).

       Accordingly, Defendants request that Mr. Carrington be arrested and detained if he fails

to comply with any Court Order to dismiss the CDCA Complaint with prejudice. Defendants

recognize the severity of this sanction, but unfortunately have no confidence that any other




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sanction will ensure compliance with the Permanent Injunction or any Court Orders of contempt

given Mr. Carrington’s track record in this case. See, e.g., A.V. By Versace, Inc. v. Gianni

Versace, S.p.A., 279 F. Supp. 2d 341, 355 (S.D.N.Y. 2003) (finding incarceration appropriate

where the defendant “has found new ways to earn a finding of contempt” and “coercive fines are

seemingly insufficient to motivate [defendant] to purge himself of the contempt”); cf. Lipin,

2015 WL 1344406, at *11 (imposing injunction against future case filings and stating,“[i]f

Plaintiff fails to comply with this Court’s Order, Plaintiff will be held in contempt and punished

by fine, or more likely, given the failure of monetary penalties to compel compliance in the past,

by imprisonment”) (emphasis added); see also S.D.N.Y. Local R. 83.6(c)(5) (stating that Orders

of Contempt may “direct[], where appropriate, the arrest of the contemnor by the United States

marshal and confinement until the performance of the condition fixed in the order and the

payment of the fine, or until the contemnor be otherwise discharged pursuant to law”).

       Mr. Sobel: Mr. Sobel’s conduct as counsel is outrageous. Mr. Sobel sent an extortionate

demand letter to Defendants and third parties on August 28, 2020; was thereafter put on full

notice of his client’s prior history of fabrication, spoliation, and obstruction, but continued to

threaten Defendants with litigation; chose not to appear at the pre-motion conference regarding

Defendants’ application for an injunction on the very claims he has now filed; and then flouted

the Permanent Injunction by filing a baseless and frivolous 82-page lawsuit in direct violation of

the Permanent Injunction.

       Given his track record of violating Court orders and counseling his client to do the same,

we have no confidence that Mr. Sobel will abide by any Court Order to dismiss the CDCA

Complaint with prejudice. To ensure that this contempt is purged, Mr. Sobel should also be

ordered to withdraw immediately as Mr. Carrington’s counsel of record in the CDCA action; to




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cease representing Mr. Carrington in any other action arising out of, or relating to, the subject

matter of the SDNY action; and to be fined $5,000 per day for each day of noncompliance with

any such sanctions.

       Mr. Sobel has forfeited any right to represent Mr. Carrington in the CDCA action or

related matters, especially since he followed through on his threat to pursue this lawsuit after

receiving the Permanent Injunction. Such relief was deemed necessary in SEC v. Bilzerian,

where the district court addressed a similar fact pattern. There, an attorney assisted with an out-

of-state lawsuit that was filed on a client’s behalf, knowing that it was in violation of the court’s

injunction prohibiting future lawsuits. 613 F. Supp. 2d at 72-73. In addition to finding the

attorney in contempt, the court ordered that counsel “purge his contempt by ceasing his

representation of Bilzerian in any capacity in any litigation matters and withdrawing as counsel,

if listed as counsel of record, in any of the above cases.” Order, SEC v. Bilzerian, No. 89-CV-

01854 (RCL) (D.D.C. May 11, 2009), Dkt. 986 at 2; SEC v. Bilzerian, 641 F. Supp. 2d 16, 23

(D.D.C. 2009) (citing Order), aff’d, 410 F. App’x 346, 348 (D.C. Cir. 2010).

       Regarding monetary sanctions, courts should consider “(1) the character and magnitude

of the harm threatened by the continued contumacy; (2) the probable effectiveness of any

suggested sanction in bringing about compliance; and (3) the contemnor’s financial resources

and the consequent seriousness of the burden of the sanction upon him.” Dole Fresh Fruit Co. v.

United Banana Co., 821 F.2d 106, 110 (2d Cir. 1987). Defendants have no information

regarding Mr. Sobel’s financial resources. However, the flagrancy of Mr. Sobel’s actions and his

pattern of refusing to follow Court Orders warrant a substantial fine if he fails to comply with

any Court Orders to dismiss the CDCA Complaint with prejudice or to immediately withdraw

from the CDCA or related cases. Specifically, the Court should impose a $5,000 fine for each




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day of Mr. Sobel’s noncompliance with any such sanctions. See Perfect Fit Indus., Inc. v. Acme

Quilting Co., 673 F.2d 53, 57-58 (2d Cir. 1982) (upholding the district court’s $5,000 per day

fine and deeming it “substantial, and intentionally so”); N.Y. State Nat’l Org. for Women v.

Terry, 886 F.2d 1339, 1364 (2d Cir. 1989) (affirming district’s imposition of civil contempt fines

of $50,000).

       Attorneys’ Fees. Finally, Messrs. Carrington and Sobel should be directed to pay

counsel’s fees incurred in drafting these motion papers and seeking this relief. See Weitzman v.

Stein, 98 F.3d 717, 719 (2d Cir. 1996) (“The district court . . . may award appropriate attorney

fees and costs to a victim of contempt.”); Vuitton et Fils S. A. v. Carousel Handbags, 592 F.2d

126, 130 (2d Cir. 1979) (“Since the [defendant] should be made whole for the harm he has

suffered, it is appropriate for the court also to award the reasonable costs of prosecuting the

contempt, including attorney’s fees, if the violation of the decree is found to have been willful.”).

       Additional Sanctions. The Court certainly has other means at its disposal to ensure

compliance with its Orders. The Court can, for example, initiate its own criminal contempt

proceedings, which are punitive in nature. See, e.g., Fed. R. Crim. P. 42(b) (permitting courts to

impose criminal contempt sanction summarily); 18 U.S.C. § 401. Defendants submit that

Messrs. Carrington’s and Sobel’s pattern and practice of willfully violating Court Orders

warrants serious consideration of such punitive measures. This is especially so if there is

continued non-compliance with Court Orders, both to ensure the integrity of the judicial process

and compliance with Court Orders in other cases.

       Defendants reserve all rights in submitting this application.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant

Defendants’ application for an order to show cause why Plaintiff Rovier Carrington and his


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counsel, G. Scott Sobel, Esq., should not be held in civil contempt for violation of the Permanent

Injunction and why the above sanctions should not be imposed. Defendants request that the

Court sign the Proposed Order to Show Case and schedule a conference as soon as possible

given Messrs. Carrington’s and Sobel’s ongoing unlawful conduct.




Dated: New York, New York                Respectfully submitted,
       November 3, 2020
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